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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------x
                                                      :
In re:                                                :    Chapter 7
                                                      :    Case No. 08-12667 (AJG)
BOAZ BAGBAG,                                          :
                                                      :
                                    Debtor.           :
                                                      :
------------------------------------------------------x

            STIPULATION AND ORDER REGARDING EXTENSION OF DEADLINE TO
                      OBJECT TO DISCHARGE UNDER 11 U.S.C. § 727
                     AND DISCHARGEABILITY UNDER 11 U.S.C. § 523

                   WHEREAS, the above-named debtor (“Debtor”) filed his petition under Chapter

7 of title 11 of the United States Code (“Bankruptcy Code”) on July 10, 2008; and

                   WHEREAS, the time for objecting to discharge in these cases pursuant to

Section 727 of the Bankruptcy Code and to dischargeability under Section 523 of the Bankruptcy

Code, absent further extension, will end on December 16, 2008; and

                   WHEREAS, the Debtor has agreed to extend the time for Uzi Evron, Doron

Kessel and Roni Abudi and Summa Capital Corp. (collectively, the "Creditors") to object to

discharge in these cases pursuant to Section 727 of the Bankruptcy Code and to object to the

dischargeability of any indebtedness owing from the Debtor to any of the Creditors pursuant to

Section 523 of the Bankruptcy Code; and

                   WHEREAS, Bankruptcy Rules 4004(b) and 4007(c) contemplate and permit the

extension of these deadlines;

                   NOW, THEREFORE, it is hereby stipulated and agreed as follows:




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                1.      The time is hereby extended through and including March 16, 2009 for the

 Creditors and any of their respective successors and/or assigns to to file complaints objecting to

 discharge pursuant to Section 727 of the Bankruptcy Code in the Debtor's case.

                2.      The time is hereby extended through and including March 16, 2009 for the

 Creditors and any of their respective successors an/or assigns to file complaints objecting to the

 dischargeability of the Debtor's indebtedness to any of the Creditors pursuant to Section 523 of

 the Bankruptcy Code.

                3.      The foregoing extensions shall not limit the right of any of the Creditors

 and any successors thereto to request and obtain further extensions of the above deadlines,

 provided that the Debtor reserves the right to object to any such further extension requests.


 Dated: New York, New York
        December 10, 2008

                                               LAW OFFICES OF DANIEL M. KATZNER, PC

                                               /s/ Daniel M. Katzner____________
                                               Daniel M. Katzner, Esq.
                                               1025 Longwood Avenue
                                               Bronx, NY 10459
                                               Tel: (718) 589-3999

                                               Counsel for the Debtor

SO ORDERED on this 11th day of December, 2008
in New York, New York

s/Arthur J. Gonzalez
HONORABLE ARTHUR J. GONZALEZ
UNITED STATES BANKRUPTCY JUDGE




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